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CLOSED

UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
BLADIMIR PEREZ, ) CIVIL ACTION NO.
) 2:15-ev-06539-ES-JAD
Plaintiff, )
) HONORABLE JOSEPH A. DICKSON
v. )
)
MACTAC, LLC, et al., ) STIPULATION OF DISMISSAL
) WITH PREJUDICE
Defendants. )

The matter in difference in the above-entitled action, having been amicably adjusted by
and between the parties, it is hereby stipulated and agreed that the same be and it is hereby

dismissed with prejudice, each party to bear their own costs.

 

S./MJF9911 : _ §/Jorge L. Hernandez
Michael J. Frantz, Jr. (per email approval)
FRANTZ WARD LLP Jorge L. Hernandez, Esq.

Law Offices of Jorge L. Hernandez, LLC

Attorney for Defendants
Attorney for Plaintiff

Dated: August 29, 2016

 
